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          SECOND AMENDED COMPLAINT


                               EXHIBIT Q
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                                                                               Regulation 738-3
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   STUDENTS

   Sexual Harassment of Students

   Prince William County Public Schools is committed to a school environment in which students
   are free from sexual harassment, and neither the Prince William County School Board nor its
   employees will tolerate sexual harassment activity by any employee or student. It is the express
   policy of the Prince William County School Board to encourage victims of sexual harassment to
   come forward with such claims.

   Students should feel free to report harassment without fear of retaliation. Any attempt of
   retaliation against the student shall be addressed by appropriate corrective action up to and
   including expulsion for involved students. School Division employees who make any attempt to
   retaliate against a student as a result of a sexual harassment charge shall also face disciplinary
   action, up to and including dismissal from their job.

   To ensure a harassment-free environment, the school administration shall take appropriate steps
   to prevent sexual harassment and shall deal promptly and decisively with reported incidents of
   sexual harassment. The purpose of this regulation is to provide guidelines to ensure appropriate
   preventive and corrective actions.

   I.     Applicability of This Regulation

          Both male and female students are protected by Title IX of the Education Amendments of
          1972 (Title IX) from sexual harassment engaged in by a school’s employees, other
          students, or third parties on school grounds or at school sponsored activities. Moreover,
          Title IX prohibits sexual harassment regardless of the sex of the harasser, i.e., even if the
          harasser and the person being harassed are members of the same sex.

          It shall be a violation of this regulation for any employee of the School Division to harass
          a student through conduct or communication of a sexual nature, as defined in this
          regulation. It shall also be a violation of this regulation for students to harass other
          students or staff through conduct or communications of a sexual nature, as defined in this
          regulation.

   II.    Definitions

          A.      Sexual Harassment

                  Unwelcome sexual advances, requests for sexual favors, and other inappropriate
                  verbal, nonverbal, written, or physical conduct of a sexual nature when made
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              (i) by an employee, (ii) by a contractor volunteer in the School Division or (iii) by
              any student to another student, constitute sexual harassment if:

              1.     Submission to such conduct is made, either explicitly or implicitly, as a
                     term or condition of a student’s instruction, employment, or participation
                     in school/extracurricular activities.

              2.     Submission to or rejection of such conduct is used as the basis for
                     academic decisions affecting the harassed student.

              3.     Such conduct has the purpose or effect of interfering with a student’s
                     academic or professional performance, or creating an intimidating,
                     offensive, or hostile academic environment.

              4.     A "hostile environment" is created when unwelcome conduct of a sexual
                     nature directed toward a student is sufficiently severe or pervasive as to
                     deny or limit the student’s ability to participate in or benefit from the
                     School Division’s educational programs or activities. A single "severe"
                     act, such as inappropriate touching or the touching of an intimate part of
                     the body, may constitute sexual harassment. A pattern of less-severe acts
                     may be sexual harassment if pervasive or repeated, depending on the
                     nature, frequency, context, and target of the acts. An isolated act, such as a
                     verbal comment, would not generally be considered sexual harassment.

         B.   Unwelcome Conduct of a Sexual Nature

              Sexual harassment, as defined above, may include but is not limited to the
              following:

              1.     Verbal or physical sexual advances, including subtle pressure to engage in
                     sexual activity; touching, pinching, patting, or brushing up against;
                     comments or actions regarding physical or personality characteristics of a
                     sexual nature; and sexually-oriented “kidding,” “teasing,” and jokes.

              2.     Suggesting or demanding sexual involvement accompanied by implied or
                     explicit threats concerning one’s grades, assignments, employment,
                     participation in scholastic/extracurricular activities, etc.
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                 3.      Verbal, non-verbal, or physical conduct of a sexual nature when the
                         allegedly harassed student has indicated, by his/her conduct, that it is
                         unwelcome.

                 4.      When a student who has initially welcomed such conduct by active
                         participation has given specific notice to the alleged harasser that such
                         conduct is no longer welcome, such subsequent conduct is deemed
                         unwelcome.

   II.    Complaint Procedure

          A.     A student who believes he/she has been sexually harassed should follow the
                 procedures set forth in Regulation 738-1, Complaint Procedures for Student
                 Claims of Discrimination and Harassment.

          B.     When the Alleged Harasser is an Employee of the School Division

                 Harassment complaints against employees shall be handled in accordance with
                 Regulation 507-1, Complaints Against Employees Involving Allegations of
                 Discrimination and Harassment in Employment.

   III.   Corrective Action

          A substantiated charge against a student for sexual harassment or for making false
          charges of harassment shall subject that student to disciplinary action in accordance with
          established disciplinary procedures. Such disciplinary action may range from admonition
          and counseling to suspension or expulsion depending on the seriousness of the incident
          and the need to protect other students from future sexual harassment or false allegations
          of wrongdoing.

   IV.    Notification and Preventive Measures

          Students and parents are notified in the Code of Behavior and this regulation (accessible
          on the PWCS website at www.pwcs.edu), that sexual harassment will not be tolerated.
          School administrators shall use appropriate means to inform all students and staff of the
          School Board’s prohibition against sexual harassment, what types of conduct may
          constitute sexual harassment, and the procedures for reporting sexual harassment
          complaints set forth in Regulation 738-1, Complaint Procedures for Student Claims of
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          Discrimination or Harassment, and Regulation 507-1, Complaints Against Employees
          Involving Allegations of Discrimination and Harassment in Employment.

   The area associate superintendents (or designee) are responsible for implementing and
   monitoring this regulation.

   The Associate Superintendent for Student Learning and Accountability (or designee) is
   responsible for reviewing this regulation in 2011.




                                       PRINCE WILLIAM COUNTY PUBLIC SCHOOLS
